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12 Joseph Benenati
13
14
                              UNITED STATES DISTRICT COURT
15
                          CENTRAL DISTRICT OF CALIFORNIA
16
                                   WESTERN DIVISION
17
18
19 Joseph Benenati,                          Case No.: 2:14-cv-7240

20                  Plaintiff,               COMPLAINT FOR DAMAGES
21
          vs.                                1. VIOLATION OF THE
22                                           TELEPHONE CONSUMER
23 Westlake Financial; and DOES 1-10,        PROTECTION ACT, 47 U.S.C. § 227
   inclusive,                                ET. SEQ;
24
25               Defendants.                 JURY TRIAL DEMANDED
26
27
28
                                                        COMPLAINT FOR DAMAGES
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 1         For this Complaint, Plaintiff, Joseph Benenati, by undersigned counsel, states as
 2
     follows:
 3
 4                                      JURISDICTION

 5         1.     This action arises out of Defendants’ repeated violations of the
 6
     Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).
 7
           2.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.
 8
 9         3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
10
     Defendants transact business here and a substantial portion of the acts giving rise to
11
     this action occurred here.
12
13                                          PARTIES
14         4.     Plaintiff, Joseph Benenati (hereafter “Plaintiff”), is an adult individual
15
     residing at Reno, Nevada, and is a “person” as the term is defined by 47 U.S.C. §
16
17 153(39).
18         5.     Defendant, Westlake Financial (“Westlake”), is a California business
19
     entity with an address of 4751 Wilshire Boulevard, #100, Los Angeles, California
20
21 90010, and is a “person” as the term is defined by 47 U.S.C. § 153(39).
22         6.     Does 1-10 (the “Agents”) are individual agents employed by Westlake
23
     and whose identities are currently unknown to Plaintiff. One or more of the Agents
24
25 may be joined as parties once their identities are disclosed through discovery.
26         7.     Westlake at all times acted by and through one or more of the Agents.
27
28
                                               2                 COMPLAINT FOR DAMAGES
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 1                                                   FACTS
 2
           8.     Within the last four years, Westlake contacted Plaintiff in an attempt to
 3
     collect a consumer debt allegedly owed by Plaintiff (the “Debt”).
 4
 5         9.     Westlake called Plaintiff on his cellular telephone [775-XXX-0903]
 6
     using an automated telephone dialing system (“ATDS”) and/or by using a prerecorded
 7
     or artificial message (“Robocalls”).
 8
 9         10.    When Plaintiff answered calls from Westlake, he heard a prerecorded
10
     message instructing him to return Westlake’s call, and then the call was automatically
11
     disconnected.
12
13         11.    On other occasions, when Plaintiff answered calls from Westlake, he
14
     heard a prerecorded message, after which he was connected to a live Westlake
15
16 representative.
17         12.    Plaintiff spoke with Westlake multiple times and instructed Westlake to
18
     stop all calls to his cellular telephone.
19
20         13.    Despite Plaintiff’s unequivocal requests for the calls to cease, Westlake

21 continued placing ATDS and/or Robocalls to Plaintiff’s cellular telephone at an
22
     excessive and harassing rate.
23
24
25
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27
28
                                                 3              COMPLAINT FOR DAMAGES
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 1                               COUNT I
 2     VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.
 3
           14.   Plaintiff incorporates by reference all of the above paragraphs of this
 4
 5 Complaint as though fully stated herein.
 6
           15.   Without prior express consent, Westlake contacted Plaintiff by means of
 7
     automated telephone calls and/or prerecorded messages at a cellular telephone in
 8
 9 violation of 47 U.S.C. § 227(b)(1)(A)(iii).
10
           16.   If at one time Westlake had obtained prior express consent to contact
11
     Plaintiff with ATDS and/or Robocalls, it no longer had such consent after Plaintiff
12
13 instructed Westlake to cease all calls.
14
           17.   Westlake continued to place ATDS and/or Robocalls to Plaintiff’s
15
16 cellular telephone after being advised to stop all calls. As such, each call placed to
17 Plaintiff was made in knowing and/or willful violation of the TCPA and is subject to
18
     treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).
19
20         18.   The telephone number called by Westlake was assigned to a cellular

21 telephone service for which Plaintiff incurs charges for incoming calls pursuant to 47
22
     U.S.C. § 227(b)(1).
23
24         19.   The calls from Westlake to Plaintiff were not placed for “emergency

25 purposes” as defined by 47 U.S.C. § 227(b)(1)(A)(i).
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27
28
                                              4                COMPLAINT FOR DAMAGES
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 1         20.        As a result of each call made in negligent violation of the TCPA, Plaintiff
 2
     is entitled to an award of $500.00 pursuant to 47 U.S.C. § 227(b)(3)(B).
 3
 4         21.        As a result of each call made in knowing and/or willful violation of the

 5 TCPA, Plaintiff is entitled to an award of treble damages in an amount up to
 6
   $1,500.00 pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 7
 8
                                       PRAYER FOR RELIEF
 9
           WHEREFORE, the Plaintiff prays that judgment be entered against the
10
11 Defendants as follows:
12
                 A.      Statutory damages of $500.00 for each violation determined to be
13
14                       negligent pursuant to 47 U.S.C. § 227(b)(3)(B);
15
                 B.      Treble damages for each violation determined to be willful and/or
16
17                       knowing pursuant to 47 U.S.C. § 227(b)(3)(C); and

18               C.      Such other and further relief as may be just and proper.
19
20                       TRIAL BY JURY DEMANDED ON ALL COUNTS
21
22         DATED: September 16, 2014                     TRINETTE G. KENT
23
                                                       By: /s/ Trinette G. Kent
24                                                     Trinette G. Kent, Esq.
25                                                     Lemberg Law, LLC
                                                       Attorney for Plaintiff, Joseph Benenati
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27
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                                                   5                  COMPLAINT FOR DAMAGES
